       Case 1:22-cr-00300-KWR           Document 89       Filed 01/25/24      Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO
                                    _________________

UNITED STATES OF AMERICA

               Plaintiff,

       vs.                                                      Case No. 1:22-CR-300-KWR


WALTER PALMON EDDINGS,

               Defendant.


        ORDER ON GOVERNMENT’S OBJECTIONS TO THE DEFENDANT’S
                        PROPOSED VOIR DIRE

       THS MATTER is before the Court on the Government’s Notice of Objections to the

Defendant’s Proposed Voir Dire (Doc. 82). After reviewing the pleadings and relevant law, the

Court OVERRULES the Government’s objections to questions 24 and 25 and SUSTAINS the

Government’s remaining objections to the Defendant’s proposed voir dire.

       Fed. R. Crim. P. Rule 24 (hereinafter “Rule 24”) allows the Court and the counsel for the

parties to examine the competency of prospective jurors to sit impartially on trial of the case.

Brundage v. United States, 365 F.2d 616, 617-18 (10th Cir. 1966). The purpose of the voir dire

examination is to determine whether prospective jurors are qualified, whether they have prejudged

the case, and whether their minds are free from prejudice or bias so that the parties can decide

whether they want to remove a juror for cause or through a peremptory challenge. United States v.

Kreuter, 376 F.2d 654, 656-57 (10th Cir. 1967). However, the Court is not obliged to ask questions

to prospective jurors that are argumentative, cumulative, or tangential. Brundage, 365 F.2d at 617-

18. See also United States v. Brewer, 427 F.2d 409, 410 (10th Cir. 1970) (“The trial court has
       Case 1:22-cr-00300-KWR           Document 89        Filed 01/25/24      Page 2 of 6




broad discretion on questions to be asked on voir dire, subject to essential demands of fairness.”).

Based on these criteria, the Court rules on the Government’s objections to the Defendant’s voir

dire as follows.



Defendant’s Proposed Question 2: Mr. Eddings is charged with the Federal crimes of being a
person who was convicted of a crime and being in possession of a firearm. He has stipulated that
he has been convicted of a crime but is contesting whether he was in possession of a firearm as
charged in the indictment. Will the fact that Mr. Eddings is an admitted felon make it difficult for
you to presume him innocent and make the government prove his guilt beyond a reasonable doubt?

       The Court SUSTAINS the Government’s objection because the Defendant’s

characterization of his charge is confusing and misleading to prospective jurors, and therefore

improper under Rule 24. The Court also agrees that this question improperly describes the

Defendant’s position as “contesting” the evidence against him. See Fed. R. Crim. P. 24.



Defendant’s Proposed Question 14: Is it better to convict an innocent person or acquit someone
who might be guilty?

       The Court SUSTAINS the Government’s objection because the question introduces a false

dichotomy that is tangential to case. This question may also improperly prejudice potential jurors

into assuming that the government seeks to charge and convict innocent people. See Brundage,

365 F.2d at 617-18.



Defendant’s Proposed Question 15: The law says that if the government proves that a defendant
is “more likely guilty than innocent”, but not guilty “beyond a reasonable doubt”, you must find
the defendant not guilty. How do you feel about this standard of law?

       The Court SUSTAINS the Government’s objection because the proposed question

includes elements that are not part of the Court’s jury instruction on the Government’s burden of




                                                 2
       Case 1:22-cr-00300-KWR            Document 89        Filed 01/25/24   Page 3 of 6




proof, which may improperly mislead a prospective juror. See Fed. R. Crim. P. 24; Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 19: What do you think we should do to avoid the conviction of
innocent people in criminal prosecutions?

       The Court SUSTAINS the Government’s objection. The question is improperly misleading

and suggests that a prospective juror may consider evidence or speculate about information

extrinsic to what is admitted at trial. See Fed. R. Crim. P. 24.



Defendant’s Proposed Question 24: Do you expect law enforcement to conduct fair
investigations?

       The Court OVERRULES the Government’s objection. This question properly probes

prospective jurors’ general perspectives on the fairness of law enforcement investigations without

introducing unnecessary prejudice regarding the fairness of this investigation. See Kreuter, 376

F.2d at 656-57.



Defendant’s Proposed Question 25: Do we expect law enforcement to conduct thorough
investigations?

       The Court OVERRULES the Government’s objection. This question properly probes

prospective jurors’ general perspectives on the thoroughness of law enforcement investigations

without introducing unnecessary prejudice regarding the thoroughness of this investigation. See

Kreuter, 376 F.2d at 656-57.



Defendant’s Proposed Question 26: Do we expect law enforcement to make every effort to
collect evidence in a case?



                                                  3
       Case 1:22-cr-00300-KWR           Document 89        Filed 01/25/24        Page 4 of 6




       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 36: Have any of you sat on a civil jury? Do you disagree that
the government’s burden should be higher (beyond a reasonable doubt) than the plaintiff’s in a
civil case (preponderance of the evidence)?

       The Court SUSTAINS the Government’s objection because references to the civil

preponderance standard are tangential to the current criminal case and may improperly confuse

prospective jurors about the applicable standard. See Fed. R. Crim. P. 24; Brundage, 365 F.2d at

617-18.



Defendant’s Proposed Question 38: What interest might the police have in the outcome of a case
that they are helping to prosecute? Why might a police officer say something that isn’t true?

       The Court SUSTAINS the Government’s objection. The question is improperly misleading

and suggests that a prospective juror may speculate about the motivations of a law enforcement

officer outside of the evidence admitted in the case. See Fed. R. Crim. P. 24.



Defendant’s Proposed Question 47: Give me an example of a time you felt that the police or
government agents took shortcuts in investigating a case.

       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



                                                 4
       Case 1:22-cr-00300-KWR          Document 89       Filed 01/25/24     Page 5 of 6




Defendant’s Proposed Question 48: Do you believe that the police, or government agents ever
take shortcuts when investigating a case?

       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 49: Why do you feel that government agents would take
shortcuts in a case as serious as this one?

       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 50: What can happen if the police or government agents take
shortcuts in possession of firearm cases?

       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 51: How would you feel if government agents took shortcuts
investigating a possession of firearm case and because of the shortcuts, they accused an innocent
person of being involved?




                                               5
       Case 1:22-cr-00300-KWR           Document 89        Filed 01/25/24      Page 6 of 6




       The Court SUSTAINS the Government’s objection. The question references arguments

that are tangential to the case, after the Court granted the Government’s Motion in Limine to

Prohibit Unfounded Allegations of Government Misconduct. Docs. 61, 81. See Brundage, 365

F.2d at 617-18.



Defendant’s Proposed Question 55, subsection 1: If you or a close relative was sitting in Mr.
Eddings’ place, would you want yourself on this jury?

       The Court SUSTAINS the Government’s objection because the question improperly asks

a prospective juror to place themselves or a close family member in the place of Mr. Eddings. This

hypothetical is tangential to the issues in the case. See Fed. R. Crim. P. 24; Brundage, 365 F.2d at

617-18.

       IT IS SO ORDERED.




                                                 6
